                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF WISCONSIN


 WILLIAM FEEHAN,

                          Plaintiff,

                    v.                            Case No. 2:20-CV-1771

 WISCONSIN ELECTIONS COMMISSION,
 and its members ANN S. JACOBS,
 MARK L. THOMSEN, MARGE
 BOSTELMAN, JULIE M. GLANCEY,
 DEAN KNUDSON, ROBERT F.
 SPINDELL, JR., in their official capacities,
 GOVERNOR TONY EVERS, in his official capacity,

                          Defendants,

                   &.

DEMOCRATIC NATIONAL COMMITTEE,
                   Proposed Intervenor-Defendant.



        NOTICE OF APPEARANCE OF MICHELLE M. UMBERGER



      Attorney Michelle M. Umberger hereby enters her appearance as counsel for

Proposed Intervenor-Defendant Democratic National Committee.




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      Attorney Umberger is an attorney in the law firm of Perkins Coie LLP, and

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      Attorney Umberger is licensed to practice law in the State of Wisconsin and

is admitted to practice before the District Court for the Eastern District of

Wisconsin.


      Dated: December 3, 2020
                                     Respectfully Submitted,

                                      By: s/ Michelle M. Umberger
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